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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
---------------------------------------------X
UNITED STATES OF AMERICA,

                                                              Memorandum & Order
        -against-                                             05-CR-188 (NGG)


TYRONE HUNTER and ADRIAN PAYNE,

                           Defendant.
---------------------------------------------X
GARAUFIS, United States District Judge.


        Defendants Tyrone Hunter and Adrian Payne are charged with several crimes, including

racketeering, racketeering conspiracy, murder, conspiracy to commit murder, narcotics

trafficking, and money laundering.

        This M&O addresses the Defendants’ motion to compel the Government to comply with

its disclosure obligations under Brady v. Maryland, 373 U.S. 83 (1963). For the reasons

discussed below, the court finds that an in camera review of the material in question is

appropriate and necessary for a determination of what information the defense is entitled to

under Brady and its progeny.

I.      Background

        The correspondence between the Government and defense counsel to date provide the

relevant background information. On May 11, 2005, the Government, pursuant to its Brady

obligations, disclosed by letter the names of five witnesses who “may have information helpful

to the defense” with respect to two of the murders at issue in this case. Defense counsel,

claiming the names of the witnesses alone were insufficient disclosure, requested more


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information, most notably, explanations of the substance of favorable information the witnesses

were thought to have, and any memorialized statements thereof. By letter dated July 1, 2005, the

Government responded that it was not obligated under Brady to provide defense counsel with

any further information, but “as a courtesy” nonetheless gave the last known addresses of these

five witnesses. On August 5, 2005, defense counsel filed a letter motion seeking a court order to

compel the Government to fulfill its Brady obligations, alleging that the Government has not

provided facts which will enable the defense to make meaningful use of the witness’ names. The

Government contends that it has no further obligation under Brady.

II.    Discussion

       As a preliminary matter, the Defendants argue that this case should properly be

considered a death penalty case despite the fact that there has not yet been a final determination

as to whether the death penalty will be sought. Given that the Defendants currently face a

possible sentence of death, this case will be thought of as a death penalty case until there is a

determination to the contrary. See United States v, Perez, 222 F.Supp. 2d 164, 169 (D.Conn.

2002). In making pre-trial determinations, I am mindful of the severity of the potential

punishment, and I am of the opinion that “the government should err on the side of disclosure

when interpreting its Brady/Giglio obligations given the need for the utmost reliability in capital

proceedings.” United States v. Karake, 281 F.Supp.2d 302, 306 (D.D.C. 2003).

       In Brady v. Maryland, the Supreme Court held that “suppression by the Prosecution of

evidence favorable to an accused upon request violates due process where the evidence is

material either to guilt or to punishment, irrespective of the good faith or bad faith of the

prosecution.” 373 U.S. at 87. The Second Circuit, interpreting Brady and its progeny, has


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elaborated: “Evidence is not ‘supressed’ if the defendant either knew, or should have known, of

the essential facts permitting him to take advantage of any exculpatory evidence.” United States

v. LeRoy, 687 F.2d 610, 618 (2d Cir. 1982) (internal citations omitted); see also United States v.

Ruggiero, 472 F.2d 599, 604 (2d Cir. 1973). The Circuit Court explained that “[t]he rationale

underlying Brady is not to supply a defendant with all the evidence in the Government’s

possession which might conceivably assist the preparation of his defense, but to assure that the

defendant will not be denied access to exculpatory evidence only known to the Government.”

LeRoy, 687 F.2d at 619; see also Ruggiero, 472 F.2d at 604.

        In both LeRoy and Ruggerio, the court found no Brady violation because the defendant

was on notice of the essential facts permitting him to take advantage of the exculpatory evidence.

In Ruggerio, the defendant sought the grand jury testimony of certain witnesses because he

believed their testimony corroborated his defense. The grand jury testimony was turned over by

the government to the court for an in camera inspection and ruling; the court denied the

defendant’s request for production upon review of the material. See Ruggerio, 472 F.2d at 603-

4. The Second Circuit first found that Brady had not been violated because there had been no

suppression of evidence given the in camera production to the court. Id. at 604. Furthermore,

the court found no abuse of discretion in the district court judge’s denial of disclosure because

the defendant “knew the identity and location of [the witnesses] and of the likelihood that they

might give testimony helpful to his defense.” Id. The court reasoned that the defendant could

have simply subpoenaed the witnesses and procured the helpful evidence by putting them on the

witness stand at trial. Id. at 604-5.

        In LeRoy, the court came to a similar conclusion where the defendant likewise requested


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the grand jury testimony of certain witnesses. There, the defendant also was on notice of the

witness’ testimony before the grand jury and had reason to believe that they may have provided

information favorable to his defense in that testimony. See LeRoy, 687 F.2d at 618-9. The

court, in finding no Brady violation, stated that the defendant was “clearly on notice of the facts

necessary for him to take advantage of such exculpatory evidence” and that “the obvious course

was to subpoena [the witnesses] and call them to the witness stand.” Id. at 619.

        The Government contends that it has already fulfilled its obligation under Brady, and

relies primarily on LeRoy, Ruggerio, and other cases which similarly involve defendants seeking

grand jury testimony. Yet, neither Ruggerio nor LeRoy support the Government’s position in

the present case. Defendants Payne and Hunter contend that the information provided to them,

i.e. the names and last known addresses of witnesses who may be helpful to their defense, is

insufficient to enable the defense to take advantage of any exculpatory evidence that may exist.

Because these witnesses are neither co-defendants, co-conspirators, nor friends of the

defendants, and because no information has been provided about the substance of the

information they may hold, the Defendants’ investigations of these witnesses have proven

fruitless to date.1

         Ruggerio and LeRoy stand only for the proposition that “[t]he government has no duty

actually to turn over grand jury testimony where the defendant knows of the witness’ identity;

that the witness testified before the grand jury; and that the witness’ statements might have

supported the defendant’s defense.” United States v. Grossman, 843 F.2d 78, 85 (2d Cir. 1988)


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          The court has been made aware of the Defendants’ efforts to investigate and their lack
of ability to do so with the information provided through ex parte letters submitted by defense
counsel.

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(stating that “LeRoy controls this case” and finding no Brady violation) (internal quotations

omitted). These cases are easily distinguishable from the present case, where it appears that the

Defendants have no understanding of who these witnesses are and what information they may

have.

        The Government also looks to the case of United States v. Frank, 11 F.Supp.2d 322

(S.D.N.Y. 1998), for support; but this case too is of little import with regard to Payne’s and

Hunter’s situation. Frank involved a death eligible defendant who sought disclosure of specific

statements made by certain government witnesses. The government directed the defendant’s

attention to these witnesses in its 3500 material and in several letters which “briefly describe[d]

the information they possess[ed] that, under the most liberal construction of Brady, may be

exculpatory.” Frank, 11 F.Supp.2d at 327. The court found no Brady violation given the

government’s disclosure. Notwithstanding its finding that Brady had not been violated, it

granted “in an excess of caution that is appropriate given the gravity of the case . . . [the

defendant’s] request that the Court conduct an in camera examination of those Government

reports that have not yet been or will not be produced to the Defendant as part of its pre-trial

discovery.” Id. at 328.

        Again, the facts of Frank provide little support for the Government’s position in this case,

where the defendants seemingly have no awareness of the substance of the witness’ testimony

that may be exculpatory. The Government cites dicta in Frank that states: “the Government may

fulfill its Brady obligation by directing the defendant’s attention to witnesses who may have

exculpatory evidence.” Id. at 327. This statement still must be read in the broader context of the

Brady standard which mandates that the defendant be in a position where he knows or should


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have known of the essential facts permitting him to take advantage of any exculpatory evidence.

III.   Conclusion

       I find that the Government has not met the essential facts standard of Brady because

defense counsel is not currently in a position to effectively elicit potential exculpatory

information from the five witnesses. At this point, considering the enormity of a potential

sentence of death for the two Defendants, the court orders an in camera review all information

and material, including grand jury testimony of the five witnesses, if it exists, that may be

exculpatory. Based on this in camera review, the court will determine what, if any, material

must be provided to the defense.

SO ORDERED.


Dated: October 19, 2005                                 _______/s/_____________
       Brooklyn, N.Y.                                   Nicholas G. Garaufis
                                                        United States District Judge




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